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 5
     Attorney for Defendant
     RICARDO VENEGAS
 6
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-06-441-GEB
 9
                                                     )
                                                     )
10           Plaintiff,                              )       STIPULATION REGARDING
                                                     )       EXCLUDABLE TIME PERIODS
11
     v.                                              )       UNDER SPEEDY TRIAL ACT;
                                                     )       FINDINGS AND ORDER
12
     RICARDO VENEGAS and                             )
                                                     )
13   VIRGILIO PINEDA,                                )       Date: October 19, 2012
                                                     )       Time: 9:00 a.m.
14
             Defendants.                             )       Judge: Honorable Garland E. Burrell, Jr.
                                                     )
15
                                                     )
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17
             The United States of America through its undersigned counsel, Jill Thomas, Assistant
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19   United States Attorney, together with counsel for defendant Ricardo Venegas, John R. Manning,

20   Esq., and counsel for defendant Virgilio Pineda, David Fischer, Esq., hereby stipulate the
21
     following:
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          1. By previous order, this matter was set for status conference on September 7, 2012.
23

24
          2. By this stipulation, defendants now move to continue the status conference until October

25   19, 2012 and to exclude time between September 7, 2012 and October 19, 2012 under the Local
26
     CodeT-4 (to allow defense counsel time to prepare).
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          3. The parties agree and stipulate, and request the Court find the following:
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                                                         1
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     a. Counsel for the defendants need additional time to review the discovery, conduct
 1

 2      investigation, and interview potential witnesses.

 3   b. This court has approved funding for Dayle Carlson, sentencing expert. Mr. Carlson
 4
        will need time to review the discovery; indictment; proposed plea agreement; meet
 5
        with counsel and Mr. Venegas to discuss potential mitigation issues. After which,
 6

 7
        Mr. Carlson will assist counsel for Mr. Venegas in preparing a written counter offer

 8      to the government in hopes of resolving the matter.
 9   c. Counsel for defendants believe the failure to grant a continuance in this case would
10
        deny defense counsel reasonable time necessary for effective preparation, taking into
11
        account the exercise of due diligence.
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13   d. The Government does not object to the continuance.

14   e. Based on the above-stated findings, the ends of justice served by granting the
15
        requested continuance outweigh the best interests of the public and the defendants in
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        a speedy trial within the original date prescribed by the Speedy Trial Act.
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     f. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
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19      Section 3161(h)(7)(A) within which trial must commence, the time period of

20      September 7, 2012 to October 19, 2012, inclusive, is deemed excludable pursuant to
21
        18 United States Code Section 3161(h)(7)(A) ) and (B)(ii) and (iv), corresponding to
22
        Local Code T-4 because it results from a continuance granted by the Court at
23
        defendant’s request on the basis of the Court’s finding that the ends of justice served
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25      by taking such action outweigh the best interest of the public and the defendant in a

26      speedy trial.
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                                              2
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                           4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
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 2   Speedy Trial Act dictate that additional time periods are excludable from the period within which

 3   a trial must commence.
 4
                           IT IS SO STIPULATED.
 5
     Dated: September 4, 2012                                                        /s/ John R. Manning
 6                                                                                  JOHN R. MANNING
 7
                                                                                    Attorney for Defendant
                                                                                    Ricardon Venegas
 8
     Dated: September 4, 2012                                                       /s/ David Fischer
 9                                                                                  DAVID FISCHER
10
                                                                                    Attorney for Defendant
                                                                                    Virgilio Pineda
11

12
     Dated: September 4, 2012                                                       Benjamin B. Wagner
13                                                                                  United States Attorney

14                                                                          by:     /s/ Jill Thomas
                                                                                    JILL THOMAS
15
                                                                                    Assistant U.S. Attorney
16                                                                  ORDER
17

18
                              IT IS SO FOUND AND ORDERED.
          Date: 9/7/2012
19

20
                                                               ___________________________________
21                                                             GARLAND E. BURRELL, JR.
                                                               Senior United States District Judge
22
     DEAC_Signature-END:




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     61khh4bb
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